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15
                                 UNITED STATES DISTRICT COURT
16
                                           DISTRICT OF NEVADA
17
       BANK OF AMERICA, N.A.,                          Case No.: 3:20-CV-00046-MMD-WGC
18
                              Plaintiff,               STIPULATION AND ORDER TO
19                                                     EXTEND TIME TO REPLY TO
                      vs.                              RESPONSE IN OPPOSITION TO
20                                                     MOTIONS TO DISMISS [ECF Nos. 48,
       CHICAGO TITLE INSURANCE                         50]
21     COMPANY et al.,
                                                       [FIRST REQUEST]
22                            Defendants.
23
            COMES NOW defendant Ticor Title of Nevada, Inc. (“Ticor Agency”), specially
24
     appearing defendant Fidelity National Title Group, Inc. (“FNTG”), and plaintiff Bank of America,
25
     N.A. (“Bank of America”), by and through their respective attorneys of record, which hereby
26
     agree and stipulate as follows:
27
            1.      On July 9, 2020 Bank of America filed its first amended complaint (ECF No. 24);
28



                                           STIPULATION AND ORDER
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 1          2.     On September 15, 2020 Ticor Agency and FNTG filed their respective motions to
 2   dismiss Bank of America’s first amended complaint (ECF Nos. 42, 43.);
 3          3.     On October 13, 2020 Bank of America filed its responses to Ticor Agency and
 4   FNTG’s respective motions to dismiss (ECF Nos. 48, 50.);
 5          4.     Ticor Agency and FNTG’s respective replies in support of their motions to dismiss
 6   are currently due October 20, 2020;
 7          5.     Ticor Agency and FNTG request a one-week extension of their deadline to file
 8   their replies to Bank of America’s responses, until October 27, 2020, to allow Ticor Agency and
 9   FNTG’s counsel additional time to review and respond to the arguments in Bank of America’s
10   responses;
11          6.     Bank of America does not oppose the requested extension;
12          7.     This is the first request for an extension which is made in good faith and not for
13   purposes of delay;
14          IT IS SO STIPULATED that Ticor Agency and FNTG’s deadline to reply in support of
15   their respective motions to dismiss is hereby extended through and including October 27, 2020
16
     Dated: October 16, 2020                      SINCLAIR BRAUN LLP
17

18                                                By:    /s/-Kevin S. Sinclair
                                                        KEVIN S. SINCLAIR
19                                                      Attorneys for Defendant
                                                        TICOR TITLE OF NEVADA, INC.
20
     Dated: October 16, 2020                      WRIGHT FINLAY & ZAK, LLP
21
                                                  By:    /s/-Lindsay D. Robbins
22
                                                        LINDSAY D. ROBBINS
                                                        Attorneys for Plaintiff
23
                                                        BANK OF AMERICA, N.A
24
     IT IS SO ORDERED.
25
                        19th day of _____________,
            Dated this _____          October      2020.
26
                                                  __________________________________________
27                                                   MIRANDA M. DU
                                                     UNITED STATES DISTRICT JUDGE
28

                                                 1
                                       STIPULATION AND ORDER
